Case 0:19-cv-60978-RAR Document 74 Entered on FLSD Docket 08/28/2019 Page 1 of 21




                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 0:19-cv-60978 RAR

  LIFECELL IP HOLDINGS, LLC, a
  Florida limited liability company,
  and SOUTH BEACH SKINCARE, INC.,
  a Florida corporation,

         Plaintiffs,

  vs.

  COSMEDIQUE, LLC, a Delaware limited liability
  company, and GLOBAL MEDIA GROUP, LLC,
  a Delaware limited liability company, and
  VYACHESLAV BORODIN, an individual and DOES 1-5

         Defendants.
                                                         /

  PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’
        AMENDED COMPLAINT PURSUANT TO RULES 12(b)(1) and 12(b)(6)

         Plaintiffs LIFECELL IP HOLDINGS, LLC and SOUTH BEACH SKIN CARE, INC.

  (herein collectively “Plaintiffs” or “LIFECELL”) hereby file this response to Defendants,

  COSMEDIQUE, LLC (herein “COSMEDIQUE”), GLOBAL MEDIA GROUP, LLC (herein

  “GLOBAL”), and VYACHESLAV BORODIN (herein “BORODIN”) (collectively herein

  “Defendants”) Motion to Dismiss Plaintiffs’ First Amended Complaint (ECF 72) (herein “FAC”).




                                               i
Case 0:19-cv-60978-RAR Document 74 Entered on FLSD Docket 08/28/2019 Page 2 of 21




                                                                Table of Contents



                                                           Table of Contents
  I.        Introduction ............................................................................................................................. 1
  II.       Defendants’ Exhibits, Extraneous Facts and Arguments are Outside the Four Corners
  of the Complaint ............................................................................................................................. 1
  III.       Standard for Dismissal on Fed.R.Civ.P 12(b)(1)- lack of subject matter jurisdiction ........... 3
       A.        Product packaging is Advertising ...................................................................................... 4
       B. Reliance on “information and belief” is Well Placed When Facts are Within the Control of
       Defendants ................................................................................................................................... 5
       C. Plaintiffs’ FAC is not a Shotgun Pleading and Includes a Substantial
       Facts in Support of Each Count therein ....................................................................................... 7
  IV.        Standard for Dismissal on Fed. R. Civ.P 12(b)(6)- Failure to State a Claim ........................ 8
       A. Plaintiffs Are within the “Zone of Interest,” Have Standing to Assert False Advertising
       Claim, and Have Stated a Cause of Action ................................................................................. 9
       B. Plaintiffs Allege Copyright Infringement with Specificity and Plausibility, Plaintiffs do
       not assert Trade Dress Infringement in Count II ....................................................................... 11
       C.      Plaintiffs’ Box and Tube are Subject to Copyright Protection .......................................... 13
       D. Plaintiffs’ Common Law Unfair Competition is Well Pled............................................... 15
  V. Conclusion ............................................................................................................................. 16




                                                                             ii
Case 0:19-cv-60978-RAR Document 74 Entered on FLSD Docket 08/28/2019 Page 3 of 21




                                                              Table of Citations


  Advisors Excel, LLC v. Scranton, 2014 U.S. Dist. LEXIS 199141*4-6 (S.D. Fla. 2014) ............ 11
  Ashcroft v. Iqbal, 556 U. S. 662, 678 (2009). ................................................................................. 9
  Belik v. Carlson Travel Grp., Inc., 864 F. Supp. 2d 1302, 1311 (S.D. Fla. 2011) ......................... 6
  Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007) ................................................................... 9
  Bridge v. Phoenix Bond & Indem. Co., 553 U.S. 639 (2008) ......................................................... 7
  BUC Int'l Corp. v. Int'l Yacht Council Ltd., 489 F.3d 1129, 1151 (11th Cir. 2007) .................... 14
  Byrne v. Nezhat, 261 F.3d 1075, 1128-30 (11th Cir. 2001) ............................................................ 7
  Calhoun v. Lillenas Publ'g, 298 F.3d 1228, 1232 (11th Cir. 2002).............................................. 12
  Chevaldina v. Katz 2018 U.S. Dist. LEXIS 28725 *7 (S.D. Fla. 2018) ......................................... 3
  Conley v. Gibson, 355 U.S. 41, 45-46, 78 S. Ct. 99, 2 L. Ed. 2d 80 (1957) ................................... 9
  Corwin v. Walt Disney Co., 475 F.3d 1239, 1253 (11th Cir. 2007). ............................................ 13
  Crystal Entm't & Filmworks, Inc. v. Jurado, 643 F.3d 1313, 1323 (11th Cir. 2011) ................... 16
  Custom Mfg. and Eng'g, Inc. v. Midway Servs., Inc., 508 F.3d 641, 652 (11th Cir. 2007). ......... 16
  Diamond Resorts Int'l, Inc. v. US Consumer Attys., P.A., 2019 U.S. Dist. LEXIS 112714 *18-19
    (S.D.Fla. 2019) .......................................................................................................................... 10
  Dubyk v. RLG Pizza. Inc., 2014 U.S. Dist. LEXIS 34422 *2 (S.D. Fla. Mar. 17, 2014) ............... 6
  Dusek v. JPMorgan Chase & Co., 832 F.3d 1243, 1246 (11th Cir. 2016). .................................... 8
  Feist Publ'ns, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 361 (1991). ................................... 13, 14
  Gordon & Breach Science Publishers, S.A. v. America Institute of Physics, 859 F. Supp. 1521,
    1535-36 (S.D.N.Y. 1994) ............................................................................................................ 4
  Gross v. White, 340 F. App'x 527, 534 (11th Cir. 2009) ................................................................ 2
  Hi-Tech Pharmaceuticals, Inc. v. HBS Int'l Corp., 910 F.3d 1186, 1197 (11th Cir.2018) .......... 10
  Home Legend, LLC v. Mannington Mills, Inc., 784 F.3d 1404, 1411 (11th Cir. 2015) ................ 14
  Incarcerated Entertainment, LLC v. Warner Bros. Pictures, 261 F. Supp. 3d 1220, 1233 (M.D.
    Fla. 2017). .................................................................................................................................. 11
  Junco v. Adventist Health Care Sys., 2018 U.S. Dist. LEXIS 162428 *2 (S.D. Fla. Sept. 24,
    2018) ............................................................................................................................................ 2
  Kleiner v. First National Bank of Atlanta, 751 F.2d 1193, 1204, n. 22 (11th Cir. 1985) ............... 4
  Lacayo v. Wells Fargo Bank, N.A., 2018 U.S. Dist. LEXIS 204226*15 (S.D. Fla. 2018) ............. 2
  Lanham Act 15 U.S.C. §25(a) ...................................................................................................... 16
  Latimer v. Roaring Toyz, Inc., 601 F.3d 1224, 1233 (11th Cir. 2010) ......................................... 12
  Lawrence v. Dunbar, 919 F.2d 1525, 1528-29 (11th Cir.1990) ..................................................... 3
  Lexmark Int'l. Inc. v. Static Control Components, Inc., 572 U.S. 118 (2014). ............................. 10
  Lexmark Int'l. Inc. v. Static Control Components, Inc., 572 U.S. 118, 134 S.Ct. 1377, 1387-88,
    188 L. Ed. 2d 392 (2014)........................................................................................................... 11
  Magluta v. Samples, 375 F.3d 1269, 1273 (11th Cir. 2004) ........................................................... 9
  Nat'l Numismatic Certification, LLC. v. eBay, Inc., 2008 U.S. Dist. LEXIS 109793, 2008 WL
    2704404, at *16 (M.D. Fla. 2008) ............................................................................................... 8
  Palm Partners, LLC v. Palm Beach Treatment Ctr., LLC, 2017 U.S. Dist. LEXIS 133401 *6

                                                                           iii
Case 0:19-cv-60978-RAR Document 74 Entered on FLSD Docket 08/28/2019 Page 4 of 21




    (S.D. Fla. 2017) ........................................................................................................................... 5
  Penelope v. Brown, 792 F. Supp. 132, 135 (D. Mass. 1992) ........................................................ 14
  Phoenix of Broward, Inc. v McDonald's Corp., 489 F.3d 1156, 1172 (11th Cir. 2007) ........... 9,10
  Planetary Motion, Inc. v. Techsplosion, Inc., 261 F.3d 1188, 1193 n.4 (11th Cir. 2001). ........... 16
  Professional LED Lighting, Ltd. v. Aadyn Technology, LLC et al., 2015 U.S. Dist. LEXIS 19410,
    *26 (S.D. Fla. 2015) .................................................................................................................... 9
  Progressive Lighting, Inc. v. Lowe's Home Ctrs., Inc., 549 Fed. Appx. 913, 918 (11th Cir. 2013)
    .............................................................................................................................................. 12,14
  Raimbeault v. Accurate Machine & Tool, LLC, 2014 U.S. Dist. LEXIS 140313, *31 (S.D. Fla.
    2014) ............................................................................................................................................ 7
  Roulo v. Russ Berrie & Co., 886 F.2d 931, 934 (7th Cir. 1989) ................................................... 13
  Saregama India Ltd. v. Mosley, 635 F.3d 1284, 1290 (11th Cir. 2011) ....................................... 12
  Shevy Custom Wigs, Inc. v. Aggie Wigs, 2006 U.S. Dist. Lexis 83495(E.D.N.Y. 2006) ............... 13
  Smith v. Casey, 741 F.3d 1236, 1241 (11th Cir. 2014) .................................................................. 12
  Speaker v. U.S. Dep't of Health and Human Servs. Ctrs. for Disease Control and Prevention, 623
    F.3d 1371, 1379 (11th Cir. 2010) ................................................................................................ 1
  Sream, Inc. v. Habsa Enter., 2018 U.S. Dist. LEXIS 16741 *4 (S.D. Fla. 2018) ........................ 10
  Stalley v. Orlando Reg'l Healthcare Sys., Inc., 524 F.3d 1229, 1232-33 (11th Cir.2008) ............. 3
  Suntree Techs., Inc. v. Ecosense Int'l, Inc., 693 F.3d 1338, 1345 (11th Cir. 2012)....................... 16
  Swierkiewicz v. Sorema N.A., 534 U. S. 506, 512 (2002). .............................................................. 9
  USA Nutraceuticals Grp., Inc. v. BPI Sports, LLC, 2016 U.S. Dist. LEXIS 195735 *15-16 (S.D.
    Fla. 2016). ................................................................................................................................. 4,5
  USI Ins. Servs. LLC v. Simokonis, 2016 U.S. Dist. LEXIS 195708 *38-39 (S.D. Fla. 2016). ....... 6
  VG Innovations, Inc. v. Minsurg Corp., 2011 U.S. Dist. LEXIS 41756, 2011 WL 1466181, at *5
    (M.D. Fla. 2011) .......................................................................................................................... 4
  17 U.S.C. § 103 ............................................................................................................................. 14
  17 U.S.C. § 410(c) ................................................................................................................... 13,14
  Fed. R. Civ. P. 8 .............................................................................................................................. 7
  Fed.R.Civ.P. 12(b)(1)................................................................................................................... 1,3
  Fed.R.Civ.P. 12(b)(6)...................................................................................................................... 1




                                                                           iv
Case 0:19-cv-60978-RAR Document 74 Entered on FLSD Docket 08/28/2019 Page 5 of 21




         I.      Introduction

         Defendants’ third attempt at filing a Motion to dismiss alleges two grounds for dismissal:

  (1) Fed.R.Civ.P. 12(b)(1)- lack of subject matter jurisdiction and (2) Fed.R.Civ.P. 12(b)(6)- failure

  to state a claim upon which relief can be granted.    Defendants’ Motion also throws in allegations

  that the FAC is a “shotgun” pleading, that the FAC is devoid of factual plausible allegations, and

  that the FAC commingles the three Counts in violation of Fed.R.Civ.P.8(a)(2).        See Defendants’

  Motion to Dismiss (ECF 72, ¶8). Other than a disjointed recitation of some law, Defendants fail

  to support their motion with any facts allegedly missing from the FAC.      To the contrary, the FAC

  contains significant factual support for each and every Count.           See ECF 30, ¶ 8-32, and

  incorporated within the Counts in 34-47, 49-60, 62-79.      Defendants fail to meet the threshold of

  establishing a lack of subject matter or a failure to state a claim, therefore, their Motion to Dismiss

  must be denied.

         Defendants’ Motion to Dismiss intertwines the two grounds for dismissal in an often

  difficult to follow brief. Plaintiffs attempt to address each issue into segmented groups below,

  despite Defendants brief not having specific section numbers and often repeating topics.


         II.         Defendants’ Exhibits, Extraneous Facts and Arguments are Outside the

  Four Corners of the Complaint

         Defendants were previously put on notice of the improper nature of documents outside the

  Four corners of the Complaint. (See ECF 48). However, Defendants’ Exhibits A-C are still outside

  the four corners of the Complaint, should not be considered in the context of a Motion to Dismiss,

  and should be struck from the record. The scope of review on a motion to dismiss under Rule

  12(b)(6) is limited to the four corners of the complaint. See Speaker v. U.S. Dep't of Health and

                                                    1
Case 0:19-cv-60978-RAR Document 74 Entered on FLSD Docket 08/28/2019 Page 6 of 21




  Human Servs. Ctrs. for Disease Control and Prevention, 623 F.3d 1371, 1379 (11th Cir. 2010).

  If matters outside the pleadings are presented by the parties and considered by the district court,

  the Rule 12(b)(c) motion must be converted into a Rule 56 summary judgment motion. Fed. R.

  Civ. P. 12(d).     “Normally the Court's examination on a motion to dismiss is limited to the

  operative complaint and the exhibits attached thereto; however, the Court may consider documents

  and exhibits the plaintiff attached to the original complaint as well.” Lacayo v. Wells Fargo Bank,

  N.A., 2018 U.S. Dist. LEXIS 204226*15 (S.D. Fla. 2018) citing to see Gross v. White, 340 F.

  App'x 527, 534 (11th Cir. 2009); Junco v. Adventist Health Care Sys., 2018 U.S. Dist. LEXIS

  162428 *2 (S.D. Fla. Sept. 24, 2018). Defendants attempt to improperly introduce a cease and

  desist letter (ECF 72 Exh A), that was sent after the present litigation was filed, copies of the shape

  of its packaging (ECF 72 Exh B) and a “score card” that Defendants’ counsel created (ECF 72 Exh

  C). None of these exhibits were discussed in the FAC and as such should be stricken from the

  record.

            Defendants also spend time discussing “the nature of the common business of the parties”

  in the Motion to Dismiss. See ECF 72, ¶5-6, 15-18. These paragraphs cite to and rely upon the

  improper exhibits A and B. These paragraphs introduce unrelated and extraneous information in

  connection with the sufficiency of the Amended Complaint. Defendants even acknowledge that

  such “facts and actions will be addresses, as appropriate in subsequent pleading and/or ancillary

  actions.” See MTD Footnote 3, p.8. Since they have no legal argument associated with the

  Amended Complaint, Plaintiffs request that the Court should ignore and/or strike these paragraphs

  and exhibits.




                                                    2
Case 0:19-cv-60978-RAR Document 74 Entered on FLSD Docket 08/28/2019 Page 7 of 21




         III.    Standard for Dismissal on Fed.R.Civ.P 12(b)(1)- lack of subject matter

  jurisdiction

         Defendants’ Motion to dismiss alleges a lack of subject matter jurisdiction under

  Fed.R.Civ.P. 12(b)(1).     “‘Attacks on subject matter jurisdiction under Fed.R.Civ.P. 12(b)(1)

  come in two forms’: facial attacks and factual attacks.” Chevaldina v. Katz 2018 U.S. Dist. LEXIS

  28725 *7 (S.D. Fla. 2018) citing to Lawrence v. Dunbar, 919 F.2d 1525, 1528-29 (11th Cir.1990);

  see Stalley v. Orlando Reg'l Healthcare Sys., Inc., 524 F.3d 1229, 1232-33 (11th Cir.2008). “Facial

  attacks on the complaint require[] the court merely to look and see if [a] plaintiff has sufficiently

  alleged a basis of subject matter jurisdiction, and the allegations in his complaint are taken as true

  for the purposes of the motion.” Lawrence, 919 F.2d at 1529. On a facial attack, a plaintiff is given

  similar safeguards as those afforded to plaintiffs who oppose a motion to dismiss for failure to

  state a claim—that is, "the court must consider the allegations of the complaint to be true." Id.

  Defendants Motion to Dismiss is a facial attack, and bases their lack of subject matter argument

  on a belief that Plaintiffs do not have standing to assert a false advertising claim in connection with

  Defendants’ unauthorized use of the PETA certification mark on their product packaging.

  Specifically, Defendants allege that the product packaging is not considered “advertising.”       It is

  firmly established that product packaging is advertising and falls within the false advertising

  umbrella. Moreover, as set forth in section IV.A. below for failure to state a claim, precedential

  case law establishes that Plaintiffs are within the “zone of interest” and are conferred standing to

  assert a false advertising claim against a competitor.




                                                    3
Case 0:19-cv-60978-RAR Document 74 Entered on FLSD Docket 08/28/2019 Page 8 of 21




                   A.    Product packaging is Advertising

            Defendants contend that their product packaging should not be considered advertising,

  because the product packaging is not shown on their website. However, Defendants fail to cite to

  any legal support for the proposition that product packaging is not advertising.         Contrary to

  Defendants limited view of advertising, product packaging is considered advertising under false

  advertising law. “Commercial speech encompasses not merely direct invitations to trade, but also

  communications designed to advance business interests.” VG Innovations, Inc. v. Minsurg Corp.,

  2011 U.S. Dist. LEXIS 41756, 2011 WL 1466181, at *5 (M.D. Fla. 2011) (quoting Kleiner v. First

  National Bank of Atlanta, 751 F.2d 1193, 1204, n. 22 (11th Cir. 1985). A false statement constitutes

  commercial advertising or promotion where the statement is (1) commercial speech; (2) by a

  defendant who is in commercial competition with the plaintiff; (3) for the purpose of influencing

  consumers to buy defendant's goods or services. VG Innovations, Inc., 2011 U.S. Dist. LEXIS

  41756 at *5 (citing Gordon & Breach Science Publishers, S.A. v. America Institute of Physics, 859

  F. Supp. 1521, 1535-36 (S.D.N.Y. 1994)).        Product packaging clearly meets this criteria and is

  considered advertising within the purview of false advertising law.

            In USA Nutraceuticals Grp., Inc., the Court denied a Motion to Dismiss finding the plaintiff

  had standing to assert false advertising based on BPI's use of the word "Best" in their product

  packaging (allegedly comparable to Beast's use of the word "Beast"). See USA Nutraceuticals

  Grp., Inc. v. BPI Sports, LLC, 2016 U.S. Dist. LEXIS 195735 *3(S.D. Fla. 2016) (emphasis

  added).

               Beast alleges that the misrepresentations on the Best BCAA label results "in
               a material deception," which "wrongly influenc[es] purchasing decisions and
               caus[es] past and continued future injury to [Beast]." Amend Compl. at ¶ 59.

                                                     4
Case 0:19-cv-60978-RAR Document 74 Entered on FLSD Docket 08/28/2019 Page 9 of 21




            Although not the most articulate and verbose of allegations, when taking such
            allegations as true and evaluating all plausible inferences derived from them
            in Beast's favor, it is evident that Beast has been harmed by virtue of sales
            diversion. That is, due to BPI's purported misrepresentations concerning the
            contents of Best BCAA, consumers are likely to purchase BPI's product over
            Beasts. This is sufficient to meet the Lanham Act's requirements. An entity
            is within the zone of interest of § 1125(a) where there is "injury to a
            commercial interest in reputation or sales." Lexmark, 134 S. Ct. at 1389- 91
            (noting that (emphasis supplied). As to proximate cause, economic or
            reputational injury "occurs when deception of consumers causes them to
            withhold trade from the plaintiff," i.e. a loss of sales. See id. (emphasis
            supplied). Therefore, Beast has standing to pursue such claims.

  USA Nutraceuticals Grp., Inc. v. BPI Sports, LLC, 2016 U.S. Dist. LEXIS 195735 *15-16 (S.D.

  Fla. 2016). Product packaging is clearly capable of forming the basis for false advertising claims

  and Plaintiffs have succinctly pled facts sufficient to establish a Count for false advertising based

  upon Defendants unauthorized use of the PETA certification mark on its product packaging.

         Additionally, contrary to Defendants’ allegations that Plaintiffs failed to allege sufficient

  injury, Plaintiffs FAC includes allegations that LIFECELL has sustained injury and damage caused

  by COSMEDIQUE’s conduct because COSMEDIQUE’s use of the PETA Cruelty Free Marks has

  harmed LIFECELL, a competitor and certified/authorized user of the PETA Cruelty Free Mark.

  See FAC, ¶38 and ¶41.    Clearly, the unauthorized misuse of a certification mark on a competitor’s

  product will influence and mislead consumers resulting in the loss of sales to those that are

  authorized to use the mark.    See USA Nutraceuticals Grp., Inc. v. BPI Sports, LLC, 2016 U.S.

  Dist. LEXIS 195735 *15-16 (S.D. Fla. 2016).

                 B. Reliance on “information and belief” is Well Placed When Facts are
                 Within the Control of Defendants
         “Pleading on information [and] belief is still permissible where [] the facts are 'peculiarly

  within the possession and control of the defendant.'" Palm Partners, LLC v. Palm Beach Treatment


                                                   5
Case 0:19-cv-60978-RAR Document 74 Entered on FLSD Docket 08/28/2019 Page 10 of 21




   Ctr., LLC, 2017 U.S. Dist. LEXIS 133401 *6 (S.D. Fla. 2017) citing to Belik v. Carlson Travel

   Grp., Inc., 864 F. Supp. 2d 1302, 1311 (S.D. Fla. 2011). This Court has recognized that "'[t]he

   Twombly plausibility standard . . . does not prevent a plaintiff from pleading facts alleged upon

   information and belief where the facts are peculiarly within the possession and control of the

   defendant, or where the belief is based on factual information that makes the inference of

   culpability plausible.'" Dubyk v. RLG Pizza. Inc., 2014 U.S. Dist. LEXIS 34422 *2 (S.D. Fla. Mar.

   17, 2014); see also USI Ins. Servs. LLC v. Simokonis, 2016 U.S. Dist. LEXIS 195708 *38-39 (S.D.

   Fla. 2016). That is the case here. Plaintiffs’ damage and injury due to lost sales are directly in

   Defendants’ control. Plaintiffs do not know the volume of Defendants’ sales or diversion of sales

   and customers away from Plaintiffs. Some or all of this data is attributable to Plaintiffs lost sales

   due to Defendants’ unauthorized use of the PETA certification mark.

          Defendants fail to note that the FAC allegations that include the phrase “upon information

   and belief” include facts, not simply conjectures or conclusions.         The allegations of false

   advertising in connection with the PETA certification mark contain inherent injuries and damage

   to competitors that rightfully are awarded use of those marks. The injury is evident given the

   nature of the products.    The product is skin cream which is being applied and absorbed into

   customers’ skin.   Customers of these products are equally informed and concerned about how the

   products were manufactured and tested and what they are putting into their bodies. Moreover, the

   number of customers that base product purchase decisions on the product being protective of

   environmental and animal welfare causes increases year after year.    Therefore, the Count for false

   advertising in connection with the unauthorized use of the PETA certification mark contains

   inherent injuries and damage to competitors. Customers that base their product purchase decision


                                                    6
Case 0:19-cv-60978-RAR Document 74 Entered on FLSD Docket 08/28/2019 Page 11 of 21




   on such certifications would be appalled to find out that the product may have been tested on

   animals.     Plaintiffs are alleging injury and damage from a direct competitor through the

   unauthorized use of the PETA certification mark. Plaintiffs do not know the full extent of the

   damages because Defendants’ sales volumes are exclusively within its control. Plaintiffs have

   met the requirements for pleading and Defendants’ Motion to Dismiss must be denied.

          C.    Plaintiffs’ FAC is not a Shotgun Pleading and Includes a Substantial
          Facts in Support of Each Count therein
              Defendants argue that the FAC should be dismissed because it is a “shotgun” pleading

   and it lacks differentiation as to which claims are directed at which Defendants and, specifically,

   a “hodgepodge” of different causes of action against different Defendants. (See ECF 72 ¶13-14,

   and 29-43) However, this argument lacks merit. A complaint that fails to articulate claims with

   sufficient clarity to allow the defendant to frame a responsive pleading constitutes a "shotgun

   pleading," which runs afoul of Fed. R. Civ. P. 8. See Byrne v. Nezhat, 261 F.3d 1075, 1128-30

   (11th Cir. 2001) abrogated on other grounds by Bridge v. Phoenix Bond & Indem. Co., 553 U.S.

   639 (2008). Plaintiffs’ FAC is not a “shotgun” pleading in any way, shape or form. The face of

   the FAC clearly articulates its claims for relief, facts in support and provides sufficient clarity to

   allow Defendants to frame a responsive pleading. In fact, Defendants’ counsel’s created

   “scorecard” (although inadmissible and which should not be considered by this Court) of the FAC,

   that specifically breaks out Defendants and Counts, proving that it is completely feasible to parse

   the Counts to the respective Defendants.    See ECF 72, Exhibit C.

          Plaintiffs clearly set forth specific allegations. “The First Amended Complaint does not

   merely ‘lump together’ the separate corporate entities and individuals as one amorphous

   defendant.” Raimbeault v. Accurate Machine & Tool, LLC, 2014 U.S. Dist. LEXIS 140313, *31

                                                     7
Case 0:19-cv-60978-RAR Document 74 Entered on FLSD Docket 08/28/2019 Page 12 of 21




   (S.D. Fla. 2014).   The rules do not require that a Plaintiff copy and paste the same language

   applicable to separate defendants into dozens of separate paragraphs. See Nat'l Numismatic

   Certification, LLC. v. eBay, Inc., 2008 U.S. Dist. LEXIS 109793, 2008 WL 2704404, at *16 (M.D.

   Fla. 2008) (listing of multiple defendants permitted "in the context of a narrative;" plaintiff need

   not simply "multiply the number of paragraphs in the [c]omplaint").” Id. at 31-32. Plaintiffs

   have directed each allegation at each of the Defendants.    As a result, Defendants have fair notice

   of the claims against them.          The factual allegations supporting these claims against each

   Defendant are clearly set forth in the FAC, (ECF 30), for instance see FAC ¶ 16-32.

          Defendants themselves are so interrelated that it is impossible, at this stage, to further

   separate their infringing actions.     One Defendant company owns the trademark, while the other

   Defendant company markets and sells the product.           Defendants attempt to play a game of

   semantics to support their argument.      However, the FAC is clear what Plaintiffs are asserting in

   each and every paragraph. Plaintiffs’ claims are short and plain, each of which furthers Plaintiffs

   argument that they are entitled to relief.     Furthermore, discovery is ongoing in this case and

   therefore Plaintiffs are still gathering information as to the specific roles played by each of the

   Defendants.    Defendants have not met their burden of showing that Plaintiffs cannot prove any

   facts entitling Plaintiffs to relief. As such, the FAC meets the pleading requirements of the Federal

   Rules of Civil Procedure.

          IV.    Standard for Dismissal on Fed. R. Civ.P 12(b)(6)- Failure to State a Claim


          On a motion to dismiss under Rule 12(b)(6), the Court must view the well-pled factual

   allegations in a claim in the light most favorable to the non-moving party. See Dusek v. JPMorgan

   Chase & Co., 832 F.3d 1243, 1246 (11th Cir. 2016). To satisfy the Rule 8 pleading requirements,

                                                      8
Case 0:19-cv-60978-RAR Document 74 Entered on FLSD Docket 08/28/2019 Page 13 of 21




   a claim must provide the defendant fair notice of plaintiff's claim and the grounds upon which it

   rests. See Swierkiewicz v. Sorema N.A., 534 U. S. 506, 512 (2002). While a claim "does not need

   detailed factual allegations," it must provide "more than labels and conclusions" or "a formulaic

   recitation of the elements of a cause of action." Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555

   (2007); see Ashcroft v. Iqbal, 556 U. S. 662, 678 (2009). The Supreme Court has emphasized that

   “[t]o survive a motion to dismiss a complaint must contain sufficient factual matter, accepted as

   true, to state a claim to relief that is plausible on its face.” Twombly, 550 U.S. at 555.

             “Dismissal pursuant to Rule 12(b)(6) is not appropriate ‘unless it appears beyond doubt

   that the plaintiff can prove no set of facts in support of his claim which would entitle him to relief.’”

   Professional LED Lighting, Ltd. v. Aadyn Technology, LLC et al., 2015 U.S. Dist. LEXIS 19410,

   *26 (S.D. Fla. 2015), citing Magluta v. Samples, 375 F.3d 1269, 1273 (11th Cir. 2004) (quoting

   Conley v. Gibson, 355 U.S. 41, 45-46, 78 S. Ct. 99, 2 L. Ed. 2d 80 (1957)). As such, this Court

   must construe Plaintiffs’ FAC in a light most favorable to Plaintiffs, accepting all facts alleged by

   Plaintiff as true. Plaintiffs’ FAC is not a “shotgun” pleading, as Defendants argue.           Plaintiffs

   clearly set forth factual allegations that support the Counts of false advertising, copyright

   infringement and unfair competition and establish the Plaintiffs’ grounds of their entitlement to

   relief.

                    A. Plaintiffs Are within the “Zone of Interest,” Have Standing to Assert False
                       Advertising Claim, and Have Stated a Cause of Action


             The Defendants continue to cite to Phoenix of Broward, Inc. v. McDonald’s Corp. for the

   proposition that Plaintiffs lack standing based upon the attenuated link between the claimed injury

   and misrepresentations.     See Motion to Dismiss, ECF 72, ¶50-53.        Despite being told about this

                                                      9
Case 0:19-cv-60978-RAR Document 74 Entered on FLSD Docket 08/28/2019 Page 14 of 21




   failed case law, Defendants continue to rely upon it. The case relied upon by Defendants was

   expressly abrogated by the Supreme Court.


            Defendant contends that it is entitled to summary judgment as to Plaintiff's
            unfair competition and FDUTPA claims on the grounds that Plaintiff lacks
            standing to pursue those claims. Defendant relies on the Eleventh Circuit's
            approach to prudential standing in Phoenix of Broward, Inc. v McDonald's
            Corp., 489 F.3d 1156, 1172 (11th Cir. 2007). However, Phoenix was expressly
            abrogated by the Supreme Court in Lexmark Int'l. Inc. v. Static Control
            Components, Inc., 572 U.S. 118, 134 S.Ct. 1377, 1387-88, 188 L. Ed. 2d 392
            (2014). In Lexmark, the Supreme Court held that "prudential standing" is not a
            relevant inquiry in determining whether a plaintiff has standing to maintain a
            private damages action for a false advertising under section 1125(a) of the
            Lanham Act. Lexmark, 134 S.Ct. at 1386-88. Rather, a plaintiff has standing to
            pursue a claim under § 1125(a) if the plaintiff's interests fall within the "zone of
            interests" of that statute based upon "an injury to a commercial interest in sales
            or business reputation proximately caused by the defendant's
            misrepresentations." Lexmark, 134 S.Ct. at 1395.

   Sream, Inc. v. Habsa Enter., 2018 U.S. Dist. LEXIS 16741 *4 (S.D. Fla. 2018) (emphasis added).

          As provided in the FAC, direct competition and the resulting loss of sales is a sufficiently

   pled injury in false advertising. Additional information requires fact determinations and discovery.

   A motion to dismiss is not appropriate where facts are at issue. See Hi-Tech Pharmaceuticals, Inc.

   v. HBS Int'l Corp., 910 F.3d 1186, 1197 (11th Cir.2018) (reversing dismissal of Lanham Act claim

   because “no part of the Twombly-Iqbal pleading standard requires a plaintiff to provide evidence

   for the factual allegations in a complaint before they are 'entitled to the assumption of truth' at the

   motion-to-dismiss stage”). “[Defendant] cites no authority to support its contention that Plaintiff

   must allege in ‘detail’ how its good will was damaged or how its sales declined… [Defendant]

   may instead seek discovery on the nature and extent of Plaintiff's damages." Diamond Resorts Int'l,

   Inc. v. US Consumer Attys., P.A., 2019 U.S. Dist. LEXIS 112714 *18-19 (S.D.Fla. 2019) citing to



                                                     10
Case 0:19-cv-60978-RAR Document 74 Entered on FLSD Docket 08/28/2019 Page 15 of 21




   Incarcerated Entertainment, LLC v. Warner Bros. Pictures, 261 F. Supp. 3d 1220, 1233 (M.D.

   Fla. 2017).

          Plaintiffs’ FAC includes allegations that LIFECELL has sustained injury and damage

   caused by COSMEDIQUE’s conduct because COSMEDIQUE’s use of the PETA Cruelty Free

   Marks has harmed LIFECELL, a competitor and certified/authorized user of the PETA Cruelty

   Free Mark. See FAC, ¶38 and ¶41.       Clearly, the unauthorized misuse of a certification mark on a

   competitor’s product will influence and mislead consumers resulting in the loss of sales. See

   Advisors Excel, LLC v. Scranton, 2014 U.S. Dist. LEXIS 199141*4-6 (S.D. Fla. 2014) (the court

   found “it is easy to conclude that [Defendant] Scranton's statements were designed to advance

   [Defendant] Advisors' Academy's business interests through influencing customers to buy

   Advisors' Academy's services, rather than Plaintiff's.”) Plaintiffs’ interests fall within the "zone of

   interests" based upon an injury to a commercial interest in sales or business reputation proximately

   caused by the defendant's misrepresentations.          See Lexmark Int'l. Inc. v. Static Control

   Components, Inc., 572 U.S. 118 (2014).




                  B. Plaintiffs Allege Copyright Infringement with Specificity and Plausibility,
                     Plaintiffs do not assert Trade Dress Infringement in Count II
          Plaintiffs most recent iteration of the Motion to Dismiss, no longer explicitly titles the

   section as “trade dress” but nonetheless makes trade dress related arguments. Plaintiffs remain

   substantially confused as to why Defendants analyze Count II as a Trade Dress violation when it

   is clearly brought as a count for Copyright Infringement. Plaintiffs succinctly pled a Copyright

   Infringement count.



                                                     11
Case 0:19-cv-60978-RAR Document 74 Entered on FLSD Docket 08/28/2019 Page 16 of 21




            "To make out a prima facie case of copyright infringement, a plaintiff must show that (1)

   it owns a valid copyright in the [work] and (2) defendants copied protected elements from the

   [work]." Smith v. Casey, 741 F.3d 1236, 1241 (11th Cir. 2014) citing to Saregama India Ltd. v.

   Mosley, 635 F.3d 1284, 1290 (11th Cir. 2011) (alterations in original) (internal quotation marks

   omitted). Plaintiffs have a registered copyright, and are entitled to the presumption of validity

   and originality that accompanies that registration certificate. The Copyright Act provides that

   such a certificate “shall constitute prima facie evidence of the validity of the copyright and of the

   facts stated in the certificate.” 17 U.S.C. § 410(c); see also Progressive Lighting, Inc. v. Lowe's

   Home Ctrs., Inc., 549 Fed. Appx. 913, 918 (11th Cir. 2013). “Once a plaintiff produces a certificate

   of registration, the burden shifts to the defendant to establish that the work in which the copyright

   is claimed is unprotectable . . . ." Latimer v. Roaring Toyz, Inc., 601 F.3d 1224, 1233 (11th Cir.

   2010).    Defendants have failed to establish that the Plaintiffs’ copyrights are unprotectable.

   Defendants Motion does not challenge the Copyright registration nor that Defendants copied

   protected elements.

            Although not a consideration in deciding this Motion to Dismiss, in order to establish

   copying, the plaintiff must show that the defendant had access to the copyrighted work and that

   the two works are so "substantially similar" that an average lay observer would recognize the

   alleged copy as having been appropriated from the original work. Calhoun v. Lillenas Publ'g, 298

   F.3d 1228, 1232 (11th Cir. 2002). If the plaintiff cannot show access, the plaintiff may still prevail

   by demonstrating that the works are "strikingly similar." Id. at 1232 n.6. Striking similarity exists

   where the proof of similarity in appearance is so striking that the possibilities of independent

   creation, coincidence, and prior common source are, as a practical matter, precluded. Corwin v.


                                                    12
Case 0:19-cv-60978-RAR Document 74 Entered on FLSD Docket 08/28/2019 Page 17 of 21




   Walt Disney Co., 475 F.3d 1239, 1253 (11th Cir. 2007). The factual analysis of whether the

   Defendants product packaging is strikingly similar to Plaintiffs copyrights is not appropriate for a

   motion to dismiss.

          The Motion to Dismiss lacks any legal support or discussion regarding copyright. Instead

   the brief ¶56-59 discusses trade dress. The cases cited Shevy Custom Wigs, Inc. v. Aggie Wigs,

   2006 U.S. Dist. LEXIS 83495, at *1 (E.D.N.Y. Nov. 17, 2006) and Roulo v. Russ Berrie & Co.,

   886 F.2d 931, 934 (7th Cir. 1989) discuss distinctiveness as it relates to trade dress. The Amended

   Complaint does not allege that the copyrights are distinctive or inherently distinctive, as this is not

   a concept applied in copyright law, but is used in trademark and trade dress. The distinctiveness

   analysis is misplaced and does not advance any supportable argument against the Amended

   Complaint.

          Plaintiffs have successfully pled facts and allegations sufficient to sustain a Count for

   Copyright Infringement.     Plaintiffs have pled ownership of two (2) copyright registrations (FAC,

   ¶¶24-25, Exhibits 5 and 6) and that Defendants’ have copied these registrations (FAC, ¶¶50,

   Product Tube images and Chart A text comparison).             Accordingly, Defendants’ Motion to

   Dismiss must be denied.

                  C. Plaintiffs’ Box and Tube are Subject to Copyright Protection

          Plaintiffs’ Product Tube and Box are subject to Copyright Protection and the validity of

   the Copyright Registrations is presumed.        See 17 U.S.C. §410(c).       Additionally, Plaintiffs’

   Product Tube and Box Copyright Registrations include not only the words, but the selection and

   arrangement of those words.      See Feist Publ'ns, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 361




                                                     13
Case 0:19-cv-60978-RAR Document 74 Entered on FLSD Docket 08/28/2019 Page 18 of 21




   (1991).     Not only did Defendants copy the text, but Defendants copied the selection and

   arrangement of those words on their own product tube and box.

             Plaintiffs have registered copyrights, and are entitled to the presumption of validity and

   originality that accompanies that registration certificate.     The Copyright Act provides that such a

   certificate “shall constitute prima facie evidence of the validity of the copyright and of the facts

   stated in the certificate.” 17 U.S.C. § 410(c); see Progressive Lighting, Inc. v. Lowe's Home Ctrs.,

   Inc., 549 Fed. Appx. 913, 918 (11th Cir. 2013).         It is well-established principle of copyright law

   that “[t]he selection and arrangement of preexisting material . . . is entitled to copyright protection.”

   Penelope v. Brown, 792 F. Supp. 132, 135 (D. Mass. 1992) citing Feist Publ'ns, Inc. v. Rural Tel.

   Serv. Co., 499 U.S. 340, 361 (1991). A compilation even of uncopyrightable elements is eligible

   for copyright protection, 17 U.S.C. § 103, so long as the compiler independently selects or arranges

   the elements and "display[s] some minimal level of creativity" in doing so. Home Legend, LLC v.

   Mannington Mills, Inc., 784 F.3d 1404, 1411 (11th Cir. 2015) citing to Feist, 499 U.S. at 358; see

   also id. at 359 ("[T]he vast majority of compilations will pass this test . . . . [except those in the]

   narrow category of works in which the creative spark is utterly lacking or so trivial as to be virtually

   nonexistent.").     Plaintiffs tube and box display a level of creativity in the selection and

   coordination of the arrangement of the words, and show a level of originality sufficient to exceed

   the low bar required to sustain a copyright.

             Moreover, the question of whether a work is sufficiently original to merit copyright

   protection is a question of fact. See BUC Int'l Corp. v. Int'l Yacht Council Ltd., 489 F.3d 1129,

   1151 (11th Cir. 2007) (noting that "[t]he jury's determination that BUC's copyrights were valid

   was necessarily based on several factual findings, including that BUC's compilation contained


                                                      14
Case 0:19-cv-60978-RAR Document 74 Entered on FLSD Docket 08/28/2019 Page 19 of 21




   original elements of creative authorship.”)   A question of fact is not appropriately decided in a

   motion to dismiss.

          The reason that copyright protection is afforded to selection and arrangement of text is

   apparent when you compare the Plaintiffs’ Product Box and Tube next to Defendants’ product box

   and tube.    It is evident that Defendants’ product box and tube are substantially similar to

   Plaintiffs’ and that identical phrases have been lifted from Plaintiffs’ Product Box and Tube.   For

   example, the bullet points on the face of Defendants’ product tube are identical to those on

   Plaintiffs’ Product Tube.    Both Plaintiffs and Defendants product tube include: “·Fast-Acting

   Anti-Wrinkle ·Intensive Firming ·24-Hr. Hydration ·Under-Eye Treatment ·Antioxidant ·De-

   Hyperpigmentation”.      See FAC, ¶50, Product Tube Comparison images and Chart A, Product

   Tube text comparison. These phrases are identical, appear in the same order, and both are

   presented with bullet points.     What is the chance?     Even the choice to abbreviate the word

   hour to “Hr.” was copied.    This is one example out of many that show evidence of copying and

   it becomes particularly evident when viewed in light of the selection of the text and arrangement

   of the text. Overwhelming evidence of copyright infringement has been provided on the face of

   complaint and is enough to permit the Court to deny Defendants’ Motion to Dismiss.

                  D. Plaintiffs’ Common Law Unfair Competition is Well Pled

          Just as Count I for false advertising and Count II for Copyright Infringement were

   sufficiently pled, Count III for Unfair Competition under Florida Common Law is likewise

   sufficiently pled.   Courts have traditionally applied state law concepts along with Federal ones.

   For example, the legal standards a court applies to a Florida Deceptive and Unfair Trade Practices

   Act, Fla. Stat. § 501.201 et seq. (2012), claim are the same as those the court has applied under §


                                                   15
Case 0:19-cv-60978-RAR Document 74 Entered on FLSD Docket 08/28/2019 Page 20 of 21




   43(a) (15 U.S.C.S. § 1125(a)) of the Lanham Act, 15 U.S.C.S. §§ 1051-1127. See Suntree Techs.,

   Inc. v. Ecosense Int'l, Inc., 693 F.3d 1338, 1345 (11th Cir. 2012) citing to Crystal Entm't &

   Filmworks, Inc. v. Jurado, 643 F.3d 1313, 1323 (11th Cir. 2011); see also Custom Mfg. and Eng'g,

   Inc. v. Midway Servs., Inc., 508 F.3d 641, 652 (11th Cir. 2007). “Courts may use an analysis of

   federal infringement claims as a 'measuring stick' in evaluating the merits of state law claims of

   unfair competition.” Planetary Motion, Inc. v. Techsplosion, Inc., 261 F.3d 1188, 1193 n.4 (11th

   Cir. 2001). Therefore, because Plaintiffs’ have sufficiently pled false advertising under Lanham

   Act 15 U.S.C. §1125(a) in Count I as set forth above, Plaintiffs have likewise sufficiently pled

   Unfair Competition under Florida Common Law.



             V.     Conclusion

             Defendants fail to meet the threshold of establishing a lack of subject matter or a failure to

   state a claim, therefore, their Motion to Dismiss must be denied.      Defendants fail to support their

   motion with any facts allegedly missing from the FAC.             To the contrary, the FAC contains

   significant factual support for each and every Count.         See ECF 30, ¶ 8-32, and incorporated

   within the Counts in 34-47, 49-60, 62-79. Defendants’ Exhibits A-C are outside the four corners

   of the Complaint, should not be considered in the context of a Motion to Dismiss, and should be

   struck from the record. In light of the well pled FAC, Defendants Motion to Dismiss must be

   denied.



   Dated: August 28, 2019                    /s/    Darren Spielman
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                                                      16
Case 0:19-cv-60978-RAR Document 74 Entered on FLSD Docket 08/28/2019 Page 21 of 21




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                                    CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on August 28, 2019, I electronically filed the foregoing
   document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document
   is being served this day on all counsel of record or pro se parties identified below on the Service
   List in the manner specified, either via transmission of Notices of Electronic Filing generated by
   CM/ECF or in some other authorized manner for those counsel or parties not authorized to
   receive electronically Notices of Electronic Filing.


                                         By: /s/Darren Spielman
                                                Darren Spielman



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                                                   17
